        Case 4:13-cr-00068-JM          Document 394         Filed 04/25/16       Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                  NO. 4:13CR00068-03-JLH

KENNETH EUGENE BROWN, SR.                                                             DEFENDANT

                                              ORDER

       Kenneth Eugene Brown, Sr., has filed a motion for appointment of counsel to consider the

effect of United States v. Johnson, 135 S. Ct. 2551, 192 L. Ed. 2d 569 (2015), on his sentence. For

reasons that will be explained, the motion is denied.

       Under the Armed Career Criminal Act, a defendant receives an increased sentence if he had

three separate, previous convictions for “a violent felony or a serious drug offense, or both . . . .”

18 U.S.C. § 924(e)(1). “Violent felony” is defined, in part, as a felony that:

       (i)      has as an element the use, attempted use, or threatened use of physical force
                against the person of another; or

       (ii)     is burglary, arson, or extortion, involves use of explosives, or otherwise
                involves conduct that presents a serious potential risk of physical injury to
                another . . . .

18 U.S.C. § 924(e)(2)(B). The phrase “or otherwise involves conduct that presents a serious

potential risk of physical injury to another” is known as the “residual clause.” Johnson, 135 S. Ct.

at 2556.      In Johnson, the Supreme Court held that the “residual clause” of the Act is

unconstitutionally vague and violates due process. Id. at 2563. However, the Court noted that

“[t]oday’s decision does not call into question application of the Act to the four enumerated

offenses, or the remainder of the Act’s definition of a violent felony.” Id. In other words, the

subsection enumerating the offenses of burglary, arson, extortion, and use of explosives and the

section regarding use of physical force, are not affected by the ruling.
        Case 4:13-cr-00068-JM         Document 394        Filed 04/25/16      Page 2 of 2




       Brown was sentenced as career offender under the Guidelines, not under the Armed Career

Criminal Act. Brown has at least five prior convictions for burglary, which are enumerated offenses.

The burglary convictions do not fall under the “residual clause” found unconstitutional in Johnson.

       Brown’s sentence is unaffected by United States v. Johnson. The motion for appointment

of counsel is DENIED. Document #393.

       IT IS SO ORDERED this 25th day of April, 2016.



                                                     ________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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